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THE UNlTED STATES BAN KRUPTCY COURT
SOUTHERN DlSTR|CT OF FLOR|DA

 

MAURICE SYMONETTE CASE NO: 18-1589l-LMI

CHAP. 7

 

 

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EMERGENCY MOTION TO RECONSIDER and CHANGE THE HEARING BACK
TO THE AUGUST 8TH 2018 DATE.

COMES NOW Maurice Symonette with motion to reconsider order from Judge on the
subject matter of changing the upcoming hearing date for 7/31/18, debtor ask the court to
reconsider this matter it is as founder of Blacks For Trump have rented vans to go to Trump's
rally on 7/31/18 we need to make this country aware of how the banks (FORE|NERS FROM
THE EAST) are illegally taking WHlTE AND BLACK PEOPLE'S houses all across America using

. ludges and lawyers See exhibit (A1).
| was given the date of August 8th on my Motion to continue the hearing until Aug. 8‘*‘ 2018,
Exhibit K. of which you your honor GRANTED and said there would be no more changes
(Continuances), See Exhibit l. But SUDDENLY when l sent an Email to the Police showing their
problems, which also showed a promotion that l was going to Tampa for a Repub|ican Trump

Rally on luly 31St 2018 Exhibit C. The Email Sent at 8:O7am July 24th 2018 Exhibit C. Then

 

suddenly on the same day Ju|y 24th 2018. at |O:am HSBC ordered the hearing changed to Ju|y
315t see Exhibit D. Over ruling the Judge's Order that said no changes allowed Exhibit B. to

cause me to lose everything by default. Which is unfair and evi|. To hide their law breaking

 

 

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thievery. Therefore l pray that we keep the Judge's Order to do the hearing on the original
date of August 8‘*‘ l had planned for. This is designed to Give me problems so that l would
lose by default is the case see exhibit A.

HSBC BANK HAS NO CLA|M OR STAND\NG CONCERN|NG TH|S NlORTGAGE OR NOTE BECAUSE
HSBC BANK USA is a trust that does not exist anymore that trust ended in lan. 2007, when
the Trust HSBC BANK USA NATlONAL ASSOC|AT\ON AS TRUSTEE FOR THE HOLDERS OF
NOMURA HOME EO.UlTY LOAN lNC. HOME EQU|TY LOAN TRUST, SERIES 2007-1 was
researched on the SEC DATA BASE no results came up on the SEC DATA BASE see exhibit §D|
Because the trust does not exist and has been a dead trust since Jan. 2007l it is illegal for a
Mortgage to operate or foreclose on an unregistered or dead trust in violation of Florida
Law Fla. Stat. 609.06, 1.140(b)(7) and Rule 1.210(a). HSBC BANK claims to be acting on

§ behalf of a mortgage trust the mortgage Trust has issued certificates to investors as public

 

 

securities. lt has issued certificates to investors secured by a Florida mortgage, it is not an

express trust under the Florida Trust code. The trust is a common law declaration of Trust

 

under Section 609 of the Fla. Statues. The Trust is an association of two or more persons for

the purpose of transacting business in Florida. Section 609.01 of the Florida Statues. Section

 

609.02 of the Florida statue. The Trust has failed to file its declaration of Trust, not paid the
$350.00 fee and not obtained a certificate from the Department of State and has
commenced to transact its business in Florida. Accordingly. The trust lacks standing to have
§ their motion enforced in the courts of a Florida and the persons operating the trust in
violation of chapter 609 have committed a third degree felony under Florida law Sec. 609.06

§ of the Fla. Statues, Arguab|y if it registered the security With the Securities and exchange

 

commission, the trust and its officials and other related Federal authorities are exempted

 

from the requirements of Sec. 609.05 of the Florida statues to obtain a permit to sell
securities by the preemption created by Securities and exchange Commission authorities
and other related Federal Authorities. However, such an exemption does not exempt the
trust from the other requirements of Chapter 609 of the Florida Statue with which the trust
has failed to comply. Florida law requires the filing, According|y, plaintiff lacks standing to

seek foreclosure on behalf of a trust that has not complied with the registration

 

 

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rguirements of Florida law O’Hanlon v. Herndonl 550.3d 723 9fla. App. ZDist. 20091 ,_

Consequently, Appel|ee's ”Complaint must be dismissed with prejudice, in addition Also to
this on the assignment for made in 2012 see exhibit l A | for this property is obviously the
same dead trust that died out in the early part of the year of 2007, HSBC Bank's lawyers
know that the trust is dead and does not exist anymore see exhibit iEl & EZ’

il

where an illistration of how to detect when a trust ends and how to look up the trust on

 

the SEC Website see exhibit (D), where this trust was searched out and on the SEC Website
and This trust could not be found for HSBC BANK USA NATlONAL ASSC. AS TRUSTEE FOR
CERT|F|CATE HOLDERS OF NOMURA HOME EO.UlTY LOAN, HOME EQUITY LOAN TRUST
SER|ES 2007-1 . SO THEY USED A DEAD TRUST to start an assignment in 2012 see exb.( A)
lender LoanCity as where from the loan was originated from, closed its business in

3/22/2007 see exhibit (B) yet HSBC BANK USA claimed that they got assignment from

 

 

LoanCity in 2012 exb. (A) when LoanCity was not even in business since 03/22/2007exb (.l),
from a News brief from the Mercury News, Bay Area News Group, Loan City Bank Affidavit

 

of the Loan preparer Dee Dee Scott as seen on the front page second paragraph of the
Mortgage, Exhibit H said they never gave us the Loan or financed the Loan Exhibit G. so
HSBC cannot have an Assignment from LOANC|TY BANK and therefore cannot foreclose or
evict or move to have this Bankruptcy case affected by them, they are a NON Party to the

Bankruptcy Claims and are trying to cause Maurice Symonette to go against ludge |sicoff

 

with the DOJ/ 18 USC 4 AND Complaint! Because HSBC HAS SA|D TQ Symonette that l might
as well stop fighting because HSBC ARE KNOCKlNG DOWN THE HOUSF. so that l will lose all

the judges are in our pocket WOW!

 

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